                            IN THE UNTIED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION

                                         DOCKET NO: 3:99CR24


UNTIED STATES OF AMERICA


              vs.                                                   ORDER


WALTER HAYWOOD WILLOUGHBY,
Defendant,

______________________________________________________________________________________

THIS MATTER is before the Court on Defendant’s motion (Doc.# 614 & 628) for “reconsiderations” of
sentence pursuant to 18 U.S.C.§ 3582(c)(2) and the Reduced sentence based upon Amendment 782 guidelines.

The U. S. Probation Office is directed to prepare a Supplemental Presentence Investigation Report to determine
whether any retroactive Amendments to the U. S. Sentencing Guidelines have any affect on the Defendant’s
original Sentencing Guideline range.

IT IS SO ORDERED:

                                                   Signed: February 5, 2015




              Case 3:99-cr-00024-FDW         Document 629         Filed 02/05/15    Page 1 of 1
